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                 Exhibit 16
       Declaration of Andy Nelson
             (Nov. 22, 2023)
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20.    As executive director of The Center, I am concerned about civil and

       criminal liability under HB 359, both on my behalf and that of

       others. I do not know how to limit my potential liability or the

       liability of The Center's staff and the broader community that we

       serve.


I declare under penalty of perjury that the foregoing is true and correct.

DATED this 22nd day ofNovember, 2023.




Declaration ofAndy Nelson
